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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION



  UNITED STATES OF AMERICA,                           )
                       Plaintiff                      )
                                                      )
                                                      )
                        v.                            ) CAUSE NO: 4:20-CR-17-TWP-VTW
                                                      )
  CHRISTOPHER HILL,                                   )
                                Defendant             )
                                                      )
                                                      )


                             ORDER ON DEFENDANT’S UNOPPOSED
                                MOTION FOR CONTINUANCE


         This matter is before the Court on the unopposed motion for a continuance of the May 4,

  2022, Final Pretrial Conference and the May 23, 2022, jury trial. The Court, having considered

  the motion, now finds that the motion for continuance should be granted.

         IT IS THEREFORE ORDERED that the May 4, 2022, Final Pretrial Conference and the

  May 23, 2022, Trial dates are VACATED. This action is RESCHEDULED for a Final Pretrial

  Conference in Indianapolis on _________________, 2022; trial by jury on ____________, 2022,

  at 9:00 A.M. in Room 200, United States Courthouse, New Albany, Indiana.

         Additionally, the Court finds that the ends of justice served by the continuance outweigh

  the best interests of the public and Defendant to a speedy trial. The time that lapses between the

  May 23, 2022, trial date and the ____________, 2022, trial date is excludable under 18 U.S.C. §

  3161 et seq.
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         IT IS SO ORDERED.



                                     __________________________________________
                                     TANYA WALTON PRATT, Judge
                                     United States District Court
                                     Southern District of Indiana




  Distribution: Counsel of Record
